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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

  THE GILLETTE CO.MPA.NY,                       )
                                                )
               Plaintiff,                       )
                                                )
        v.                                      )   C.A. No. 15-1158-LPS-CJB
                                                )
  DOLLAR SILA..VE CLUB, INC.,                   )
                                                )
               Defendant.                       )
                                                    REDACTED - .PlJBLIC VERSION

                LETTER TO THE HONORABLE LEONARD P. STARK


                                                    John W. Shaw (No. 3362)
         OF COUNSEL:                                Karen E. Keller (No. 4489)
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         Original Filing Date: July 19, 2016
         Redacted .Filing Date: July 26, 2016
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                                                                                      David M. Fry

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                                              July 19, 2016

 BY CM/ECF AND HAND DELIVERY
 The Honorable Leonard P. Stark                                                  REDACTED:
 U.S. District Court for the District of Delaware
 844 N. King Street                                                              PUBLIC VERSION
 Wilmington, DE 19801

       Re:     The Gillette Co. v. Dollar Shave Club, Inc., C.A. No. 15- 1158-LPS-CJB
 Dear Chief Judge Stark:
         I write on behalf ofDefendant Dollar Shave Club, Inc. ("DSC") to request that the Court stay
 all discovery in this action until it rules on DSC's Motion to Stay Pending Arbitration ("Arbitration
 Motion"). (D.J. 34.) As explained in the Arbitration Motion, there is a pending arbitration



 DSC's Arbitration Motion argues that Section 3 of the Federal Arbitration Act ("FAA'') mandates a
 stay of this action pending resolution of the ongoing Arbitration.

         As the Third Circuit has recognized, "FAA § 3 provides that 'upon being satisfied that the
 issue involved in such suit or proceeding is referable to arbitration,' the court' shall on application of
 one of the parties stay the trial of the action until such arbitration has been had in accordance with
 the terms of the agreement'"- and, therefore, "requiring the parties to submit to full discovery [prior
 to a ruling on an arbitrability issue] may unnecessarily subject them to the very complexities,
 inconveniences and expenses of litigation that they determined to avoid." Klepper v. SLI, Inc., 45
 Fed.Appx. 136, 139, 2002 WL 2005431 (3d Cir. 2002) (reversing district court's order permitting
 discovery wh ile a motion to compel arbitration was pending) (quotations and citations omitted).
 Numerous other district courts addressing this very issue have reached the same conclusion, and we
 therefore respectfully request that the Court stay all discovery in this action pending resolution of
 DSC's Arbitration Motion.
 I.      Relevant Background of the Current Dispute




 (D.I. 36, Declaration of Dan Murray ("Murray       Dec!.") ~~   4, 7, 13.)
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                                               has sought a stay of this action in its entirety pursuant
 to    mandatory stay provisions       the Federal Arbitration Act and the Court's inherent power to
 control its own docket. (D.I. 34.)

 II.     The Court Should Stay Discovery Until the Arbitration Motion Is Resolved
         Consistent with the mandate of the FAA and Third Circuit precedent, this Court should grant
 a short stay ofdiscovery pending the Court's ruling on the Arbitration Motion, which has been fully
 briefed since July 8, 2016. As noted above, where an issue ofarbitrability pursuant to FAA Section
 3 is pending, "requiring the parties to submit to full discovery .. . may unnecessarily subject them 'to
 the very complexities, inconveniences and expenses of litigation that they determined to avoid.'"
 Klepper, 45 Fed.Appx. at 139, 2002 WL 200543 1 (quoting Suarez-Valdez v. Shearson
 Lehman/American Exp., Inc., 858 F.2d 648, 649 (lith Cir. 1988).
         As a result, courts routinely stay discovery pending the resolution of a motion to stay pending
 arbitration. See, e.g., lnvista S.a.r.l. v. Rhodia SA., No. CIV.08-941 (RBK/JS), Dkt. 29 (D. Del. Feb.
 2, 2009) (granting motion to stay discovery pending resolution of defendant's motion to dismiss or
 stay action in favor ofarbitration) (Exhibit C); Steiner v Apple Computer, Inc., 2007 WL 4219388, at
 *1 (N.D. Cal. Nov. 29, 2007) (it is a "common practice" to stay discovery pending resolution of a
 party's motion to compel arbitration, as parties should not be forced to endure the expense of
 discovery in the interim) .2


 2
    See also Ross v. Bank of Am., N.A. (USA), 2006 WL 36909, at *I (S.D.N.Y. Jan. 6, 2006)
 (granting stay of discovery pending resolution of motion to stay pursuant to 9 U.S.C. § 3 in view of
 "threshold issues concerning arbitration"); Rohn v. AT & TMobility, LLC, 2008 WL 4525817, at *I
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                     (D.I. 35 at 11-14), an (iii) the AA                  a               stay under such
 circumstances (id. at 9-11 ), the interests of judicial economy and "protecting the resources of the
 parties and the judiciary outweigh[] Plaintiff['s] interest in (pursuing] discovery before the resolution
 of Defendant's [Arbitration Motion]." Roadbuilders Mach. Supply Co. v. Sennebogen, Inc., 2012
 WL 1253265, at *3 (D. Kan. Apr. 13, 20 12) (further fmding that allowing discovery would require
 expending resources the parties sought to avoid when including the arbitration clause in the relevant
 agreement); see also Andrus v. D.R. Horton, Inc., 2012 WL 1971326, at *3 (D. Nev. June 1, 2012)
 ("It is in the interest of conserving the resources of the parties and the court to stay discovery in this
 action pending a determination of the motion to compel arbitration."); Merrill Lynch, Pierce, Fenner
 & Smith Inc. v. Coors, 357 F. Supp. 2d 1277, 1280-8I (D. Colo. 2004) (same; granting motion to
 stay in case involving third party beneficiary rights, further noting liberal policy favoring arbitration
 and that questions as to the scope of arbitrable issues should be resolved in favor of arbitration).
          A stay is particularly necessary here because Gillette is aggressively pursuing discovery
 against DSC- having already served 120 Requests for Production and II interrogatories, as well as
 voluminous email custodian demands- which, absent an interim stay, will require incurring many
 hundreds of thousands of dollars of costs and legal fees until DSC's Arbitration Motion is decided.
 Indeed, Gillette has sent some 12letters purporting to raise discovery disputes in the last three weeks
 alone, despite the early stage of the case, in a transparent effort to create artificial discovery activity
 that it has then used to try to argue that DSC has waived its ability to pursue its Arbitration Motion.
 (D.I. 48 at 18-19; Exhibit D (July 11, 2016 Letter from Jennifer Albert to Terry Wit).) DSC has
 nevertheless engaged in good faith conferral in an effort to resolve these meritless concerns,
 responding both telephonically and in writing (12 times) over the same period.




                                                                           E.)
                 thus also been forced to incur great expense in responding to Gillette's improper
 subpoenas as well as subsequent correspondence, and will continue to do so absent an interim stay.

         Finally, any prejudice to Gillette will be minimal or nonexistent. This case is in its early
 stages and trial is not set until May 14, 201 8. (D.I. 20.) A short stay of discovery pending ruling on
 the Arbitration Motion will not impact the parties' ability to complete discovery by June 30, 2017,
 nor will it impact the availability of witnesses or documents. Additionally, DSC has produced its
 sales figures and core technical documents, such that Gillette can evaluate settlement options if it
 wishes. On the other hand, if discovery continues, DSC and several third parties will have to bear
 significant discovery costs that will likely be rendered moot in light of the pending arbitration.
         For the above-stated reasons, DSC respectfully requests a stay of all discovery pending
 resolution of its fully-briefed June 10, 2016 Motion to Stay Pending Arbitration.

 (D.V.I. Oct. 3, 2008) (same); Brown v. CMH Mfg., Inc., 2014 WL 2973349, at *2 (S.D.W. Va. July
 2, 20 14) (granting motion to stay even where defendants "waited a considerable time since discovery
 began to move to stay" and discovery was set to close in six weeks).
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 The Honorable Leonard P. Stark
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                                               Respectfully submitted,
                                               Is/ David M Fry
                                               David M. Fry (No. 5486)

 cc:   Clerk of the Court (by hand delivery)
       Counsel ofRecord (by CM/ECF & e-mail)
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                      Exhibit A
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                      Exhibit B
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          Redacted In Its Entirety
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                      Exhibit C
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                                                                                (Docket Entry No.7)

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE




  INVISTA S.a.r.l., et al.,

                          Plaintiffs,                    Civil No. 08-941 (RBK)

                 v.                                      ORDER

  RHODIA S.A.,

                          Defendant.


         THIS MATTER having come before the Court upon a motion by Defendant Rhodia, S.A.

  ("Defendant") to stay discovery proceedings pending the resolution of Defendant's motion to

  dismiss or stay this action in favor of arbitration; and

         IT APPEARING TO THE COURT that Plaintiffs Invista S.a.r.l., et al. ("Plaintiffs") filed

  this action in the Delaware Court of Chancery; and

         IT FURTHER APPEARING TO THE COURT that Defendant removed this action to this

  Court pursuant to 9 U.S.C.A. § 205; and

         IT FURTHER APPEARING TO THE COURT that Plaintiffs seek discovery on the

  merits of this case, and not discovery for the purpose of Defendant's motion to dismiss or stay

  this action in favor of arbitration; and

          THE COURT NOTING that if Defendant's motion to dismiss or stay this action is

  granted, litigation will proceed in the arbitral forum and "responsibility for the conduct of

  discovery [will lie] with the arbitrators," CIGNA Health Care of St. Louis, Inc. v. Kaiser, 294
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   Case 1:08-cv-00941-RBK Document 29 Filed 02/02/09 Page 2 of 2 PageiD #: 925




  F.3d 849, 855 (7th Cir. 2002); and

         THE COURT NOTING FURTHER that "[i]fthe district court decides that the arbitration

  clause does not provide a defense, and no other grounds for federal jurisdiction exist, the court

  must ordinarily remand the case back to state court," Beiser v. Weyler, 284 F.3d 665, 675 (5th

  Cir. 2002); and

         THE FINDING that the interests of judicial economy and preservation of the resources of

  the parties would be served by a stay of discovery in this matter;

         IT IS HEREBY ORDERED that Defendant's motion to stay discovery pending the

  resolution of Defendant's motion to dismiss or stay this action in favor of arbitration is

  GRANTED.




  Dated: 2-2-09                                         Is/ Robert B. Kugler
                                                        ROBERT B. KUGLER
                                                        United States District Judge
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                       Exhibit D
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                                                           Jennifer A. Albert       Goodwin Procter LLP
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                                                                                    T: 202.346.4000
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  July 11, 2016

  VIA EMAIL

  Terry Wit
  Quinn Emanuel Urquhart
    & Sullivan, LLP
  50 California Street
  22nd Floor
  San Francisco, CA 94111-4788


          Re:         The Gillette Company v. Dollar Shave Club, Inc.
                      Civil Action No. 15-1158-LPS-CJB

  Dear Terry:

  This responds to your letter dated July 6, 2016.




   Per our meet and confer on Friday, July 8, Gillette is not willing to forego an argument that
   DSC's participation in discovery in this case, including its parti~onfer
   conferences, constitutes a waiver of any alleged rights DSC h a s - - - - -
  -              the Federal Arbitration Act or any other relevant authority. DSC has Answered the
   Complaint, and has asserted counterclaims, thereby subjecting itselfto the Delaware Court's
   jurisdiction. The Court has entered an order in this case that discovery proceed. To the extent
   DSC refuses to comply with its discovery obligations, it is in violation ofthe Court's Order.

  Finally, Gillette's concerns with respect to the deficiencies in DSC's responses to Gillette's First
  Sets of Requests for Production of Documents and Interrogatories, as set forth in my June 27 and
  July 8 letters to you, stand. Ifyou have issues concerning Gillette's responses and objections to




  ACTIVE/86552526.1
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            GOODWIN
  Terry Wit
  July 11, 2016
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  DSC's first set of discovery requests, please let us know. However, we reiterate our request to
  have a meet and confer concerning DSC's deficient discovery responses. As we discussed on
  Friday's meet and confer, please let us know your availability this week for such a conference.


  Sincerely,




  Jennifer A. Albert



  cc:     Counsel ofRecord




  ACTIVE/86552526.1
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                       Exhibit E
Case 1:15-cv-01158-LPS Document 65 Filed 07/26/16 Page 17 of 17 PageID #: 1463




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